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 Environmental Protection

By: Rachel Jeanne Lehr
    Deputy Attorney General
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                    UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF DELAWARE
                                      :       HON. JUDITH K. FITZGERALD
In re:
                                      :                  Chapter 11
W. R. Grace & Co., et al.,
               Debtors.               :           Case No. 01-01139 (JKF)



                               PROOF OF CLAIM

1.   The Attorney General of New Jersey, by Rachel Jeanne Lehr,

     Deputy Attorney General appearing, files this Proof of Claim

     for the State of New Jersey, Department of Environmental

     Protection ("Department" or “State”), a principal department

     within the Executive Branch of the State government.

2.   The Attorney General of New Jersey is authorized to make this

     Proof of Claim for the Department.              The undersigned does so

     without the authority to waive the State of New Jersey's or

     its officers' sovereign immunity under the United States

     Constitution    or   to    consent      to   this   Court's    exercise   of

     jurisdiction over the State of New Jersey or its officers.

     Accordingly, nothing in this pleading is intended to waive the
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     State of New Jersey's or its officials' immunity from suit in

     federal court under its sovereign immunity in the United

     States Constitution.

3.   The Department is making this Proof of Claim for penalties

     incurred by the debtors for violations of the New Jersey

     Industrial Site Recovery Act (“ISRA”), N.J.S.A. 13:1D-6 to -

     14, and the New Jersey Spill Compensation and Control Act

     (“Spill Act"), N.J.S.A. 58:10-23.11 to -23.24., at their

     Hamilton Township, New Jersey, industrial establishment as set

     out in Exhibit A, attached hereto and incorporated herein.

4.   The   Department    is    seeking      $30,035,577.00      in    estimated

     penalties    for swearing to false information about hazardous

     substances used by the debtor at the Hamilton site that

     remained    there   after   debtor     ceased    operations      and   left

     Hamilton Township. See Exhibit A.

5.   No judgments have been rendered on these claims.

6.   The Debtor has made no payments on these claims.

7.   These claims are not subject to any set-off or counterclaim.

8.   This Proof of Claim is not to be construed as a waiver of any

     other claim or right, including penalties or tax claims, which

     DEP, the Administrator or any other agency or instrumentality




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of the State may have against the Debtor, the Debtor's estate or

any other person.



                                         Respectfully submitted,

                                         STUART RABNER
                                         ATTORNEY GENERAL OF NEW JERSEY
                                         Attorney for Claimants


                                  By: /S/ Rachel Jeanne Lehr
                                     Rachel Jeanne Lehr
                                     Deputy Attorney General

Dated: April 26, 2007




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